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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF GEORGIA

XENIA BLANKINSHIP, SPANLINE                          Civil Action No.
DIXON, and JEFFREY WATERS, on
behalf of themselves and all others
similarly situated,
                    Plaintiffs,
        v.
 GEORGIA PACIFIC LLC,
                    Defendant.

                                   NOTICE OF REMOVAL
       Defendant Georgia-Pacific LLC hereby removes this action from the Superior Court of

Glynn County, Georgia, where it is presently pending, pursuant to 28 U.S.C. §§ 1332, 1441 and

1446. In support of removal, Georgia-Pacific LLC submits the following:

                                  FACTUAL BACKGROUND
       1. This case arises from claims Plaintiffs Xenia Blankinship, Spanline Dixon, and

Jeffrey Waters (collectively "Plaintiffs") assert against Georgia-Pacific LLC, the only named

Defendant (which, as noted below, should be Brunswick Cellulose, LLC) in the Superior Court

of Glynn County, Georgia, where it was assigned Docket/Case No. CE22-01084. Until removed

pursuant to this Notice, the action was pending in that Court.

       2.      In accordance with 28 U.S.C. § 1446(a), Exhibit A to this Notice comprises all

pleadings, including Plaintiffs' summons and Complaint served upon the Defendant.

       3.      Plaintiffs filed the initial Complaint on October 20, 2022. Plaintiffs served

Georgia-Pacific LLC on November 7, 2022. Ex. A.

       4.      The allegations comprising Plaintiffs' claims are that:

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his family are separate and distinct from damage to the value of the realty." City ofAtlanta v.

Murphy, 194 Ga. App. 652, 653, 391 S.E.2d 474, 476 (1990); see also Toyo Tire N Am. Mfg.,

Inc. v. Davis, 299 Ga. 155, 165, 787 S.E.2d 171, 180 (2016)

       37.     Taking this amount and multiplying it by the alleged proposed class member

properties (minimum 2,000), the amount put in controversy by the Complaint is at least

$205,200,000 which far exceeds CAFA's $5 million jurisdictional threshold.

       38.     Plaintiffs have not limited their demand for damages to less than $5,000,000. 5

       39.     In addition, Georgia comis have affirmed large awards for cases solely involving

tempora1y nuisance with less individuals than in Plaintiffs' class, demonstrating that a factfinder

might find for Plaintiffs with a large measure of damages. See Davis v. Toyo Tire North America

Mfg. Inc., 2017 WL 4369392, pending in the Georgia Superior Court, Cherokee Judicial Circuit,

Baiiow County (Febrnary 14, 2017) Gmy awarded two plaintiffs $50,000 in compensat01y odor

nuisance damages, in addition to plaintiffs' attorney fees and expenses of litigation); see also

Simerly v. Pulte Home Corp., 2011 WL 5438800, pending in Gerogia Superior Court, Bel­

Forsyth Judicial Circuit, Forsyth County (2011) Gury awarded six plaintiffs $2,059,312 in

compensatory damages and attorneys' fees for negligence, nuisance, and trespass).

       40.     These cases are akin to the case at bar because they involve allegations of odor

nuisance or other temporary nuisance which Plaintiffs claim resulted in property damage and



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         This is likely because Plaintiffs' national counsel, Liddle Sheets Coulson PC, has
recently obtained numerous settlements for similar class actions based on noxious emissions
around the county. See https://www.lsccounsel.com/results (noting $9.5 million settlement,
including significant improvements designed to reduce emissions, for residents of Granada Hills
neighborhood who alleged noxious odors from nearby landfill in Michaely v. Republic Services
of California and $8.5 million settlement, including significant facility improvements, for
residents of Clairton, Pennsylvania alleging emissions from steelmaking coke plant in Ross v.
United States Steel Corporation).
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it is more likely than not that the Plaintiffs' claims exceed the amount in controversy requirement

of $5,000,000.

    III.         Numerosity Requirement is Met.

           44.      As noted above, Plaintiffs allege that "[t]here are several thousand households in

the proposed class. Accordingly, the members of the Class are so numerous thatjoinder of all

parties is clearly impracticable" Ex. A, Complaint ,r 44. Thus, Planitiffs allege at least 2,000

potential class members, 64 of which Plaintiffs' counsel have already spoken with. Id at ,r 24.

           45.      Based upon Plaintiffs' allegations, the putative class size is well-over 100 and

thus satisfies 28 U.S.C. §1332(d)(5)(B).

           46.      For the foregoing reasons, this action is properly removed to this Court pursuant

to CAFA. See 28 U.S.C. § 1332(d).

                      REMOVAL TO THIS JUDICIAL DISTRICT IS PROPER

           47.      Removal to this Court is proper because the Southern District of Georgia includes

Glynn County, Georgia, the location of the court in which the Complaint was originally filed. 28

U.S.C. ,r 90(c) and 1441(a).

  DEFENDANT HAS COMPLIED WITH ALL PROCEDURAL REQUIREMENTS OF
                           REMOVAL

           48.      Immediately upon the filing of this Notice, a copy of same will be filed with the

Clerk of the Superior Court of Glynn County, Georgia as required by 28 U.S.C. § 1446(d), and

notice of this filing will be given to all paiiies.

           49.      There are no other defendants, so consent from additional defendants is not

required.

           50.      Defendant has not answered the Complaint in state court, and will do so

consistent with Fed. R. Civ. P. 8.
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                                        RESERVATIONS

       51.     Georgia-Pacific LLC and Brunswick Cellulose LLC hereby reserve all defenses

and objections to the Complaint, including but not limited to: lack of personal jurisdiction,

improper venue, forum non conveniens, insufficiency of process, insufficiency of service of

process, failure to state a claim upon which relief can be granted, and failure to satisfy the

requirements of class certification.

       WHEREFORE, Georgia-Pacific LLC hereby removes this action from the Superior Court

of Glynn County, Georgia to the United States District Court for the Southern District of Georgia

for further proceedings.

        Respectfully submitted, this 6f�day of December, 2022

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